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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

      CHAMBERS OF                                                    MITCHELL H. COHEN BUILDING &
    RENÉE MARIE BUMB                                                  UNITED STATES COURTHOUSE
                                                                          4th & Cooper Streets
 CHIEF U.S. DISTRICT JUDGE
                                                                       Camden, New Jersey 08101

                                       LETTER ORDER

                                                     December 29, 2023

Via ECF
Counsel of Record

       Re:      Sokolich v. U.S. Dep’t of Transp., Civil No. 2:23-21728 (BRM) (LDW)
                New Jersey v. U.S. Dep’t of Transp., Civil No. 2:23-03885 (BRM) (LDW)

Dear Counsel:

        On December 6, 2023, I received a letter from New York State Senator Brad Hoylman-
Sigal seeking the recusal of the Hon. Brian R. Martinotti, U.S.D.J., from the above-referenced
cases and, in the event that Judge Martinotti does not recuse himself, urging this Court “to remove
these cases from his purview.” I responded to his letter on December 13, 2023. Since that letter,
this Court has received, via hand-delivery and the Court’s Chambers e-mail address, two additional
letters related to this matter. In order to prevent further correspondence regarding Senator
Hoylman-Sigal’s letter, the Court herby directs that the previous correspondence shall be published
on the docket “for informational purposes only.”

       Therefore, the Clerk of the Court shall DOCKET this letter and the accompanying
attachments “for informational purposes only” in the above-referenced cases.

                                                     Sincerely,

                                                     s/Renée Marie Bumb
                                                     Renée Marie Bumb
                                                     Chief U.S. District Judge


Encls.
December 6, 2023, Letter from Sen. Brad Hoylman-Sigal
December 13, 2023, Letter from Randy M. Mastro
December 13, 2023, Letter from the Hon. Renée Marie Bumb
December 22, 2023, Letter from AUSA Alex D. Silagi et al.
